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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 20-14279-CV-MIDDLEBROOKS/Reid

  JOHN HAILE,

          Petitioner,

  v.

  SECRETARY, FLORIDA DEPARTMENT
  OF CORRECTIONS,

        Respondent.
  _________________________________________/

                  ORDER ADOPTING REPORT AND RECOMMENDATION

          THIS CAUSE comes before the Court on Magistrate Judge Lisette Reid’s Report (DE 6),

  recommending dismissal of Petitioner John Haile’s pro se petition for writ of habeas corpus

  pursuant to 28 U.S.C. §2254 (DE 1). In this petition, Petitioner challenges the same state court

  conviction that he challenges in a previously-filed counseled habeas petition which is currently

  pending in Case No. 20-14257-CV-Middlebrooks. Judge Reid characterizes the previously filed

  habeas case as a “duplicate petition” and recommends dismissing the instant pro se petition.

          Petitioner filed objections to Judge Reid’s report. (DE 7). Petitioner’s objections are

  handwritten and largely unintelligible, however he appears to be arguing that the pro se petition in

  this case raises an additional ground for relief which the earlier-filed petition does not raise. Id.

  Moreover he alludes to errors contained in the petition filed by his lawyer in the earlier case, and

  references certain disagreements, or perhaps an inability to communicate with his lawyer in that

  case. Id.

          I have considered the Report, the record in both cases, and Petitioner’s objections.

  Petitioner is not permitted to have two different habeas petitions pending in this court challenging


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  the same state court conviction. This later filed petition shall be dismissed, and Petitioner should

  coordinate with his lawyer on the handling of his earlier filed pending habeas petition.

         Accordingly, it is ORDERED AND ADJUDGED that:

     (1) Magistrate Judge Reid’s Report (DE 6) is hereby ADOPTED.

     (2) John Haile’s pro se petition for writ of habeas corpus pursuant to 28 U.S.C. §2254 (DE 1)

         is DISMISSED.

     (3) No reasonable jurist would dispute this procedural ruling and therefore no

         certificate of appealability shall issue.

     (4) The Clerk of the Court is directed to CLOSE THIS CASE.

     (5) Any pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Chambers in West Palm Beach, Florida, this 31st day of

  October, 2020.




                                                               Donald M. Middlebrooks
                                                               United States District Judge

  Copies to:       Counsel of Record;
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